Case 1:19-cv-00262-JHR-JFR Document1 Filed 03/25/19 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

QUINTON BLAKE WEBB,
Plaintiff, No. 1:19-cv-262
V.

PATRICK CHARLES, PHENIX TRANSPORTATION WEST, and NATIONAL FIRE &
MARINE INSURANCE COMPANY,

Defendants.
NOTICE OF REMOVAL

National Fire & Marine Insurance Company, by and through its counsel of record, Riley,
Shane & Keller, P.A. (Mark J. Riley and Taryn M. Kaselonis), hereby gives notice of removal of
this matter to the United States District Court for the District of New Mexico. In support,
Defendant states the following:

L. Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant hereby gives notice of
removal of all counts and claims asserted by the Plaintiff in the civil action filed in the Second
Judicial District, County of Bernalillo, State of New Mexico, styled: Quinton Blake Webb vy.
Patrick Charles, Phenix Transportation West, and National & Fire Marine Insurance Company;
Second Judicial District Cause No. D-202-CV-2019-01117. Pursuant to 28 U.S.C. § 1446 (a),
copies of all process, pleadings, and orders served to date are attached hereto as Exhibit “A”.

2. Plaintiff's “Complaint for Damages” (Complaint) was filed in the Second Judicial
District Court on February 8, 2019. See Exhibit “Al”. A Summons was issued by the Second
Judicial District Court on February 22, 2019. Pursuant to NMSA 1978, Sections 59A-5-31 and

S9A-5-32, the State of New Mexico Office of the Superintendent of Insurance accepted service
Case 1:19-cv-00262-JHR-JFR Document1 Filed 03/25/19 Page 2 of 5

of the Complaint on behalf of National on February 27, 2019 and mailed it to National on that
same date. National received the Complaint on March 4, 2019. See Exhibit “A2”. Therefore,
this Notice of Removal is timely filed under 28 U.S.C. § 1446 (b); see also Murphy Bros., Inc. v.
Michetti Pipe Stringing, Inc., 526 U.S. 344, 348, 119 S.Ct. 1322, 1325 (1999) (holding that “a
named defendant’s time to remove is triggered by simultaneous service of the summons and
complaint . . . but not by mere receipt of the complaint unattended by any formal service”).

3. This is an action of a civil nature in which the United States District Court has
diversity jurisdiction pursuant to 28 U.S.C. § 1332 (a) because there is complete diversity of
citizenship between Plaintiffs and Defendant, and the amount in controversy exceeds
$75,000.00.

4, Defendant Patrick Charles is a resident of the State of Mississippi. Defendant
Phenix West Transportation is incorporated in the State of Mississippi. Plaintiff is, upon
information and belief, a citizen and resident of the State of New Mexico. See Exhibit “Al” at
4] 1 & 2; see also Exhibit “A3” and Exhibit “A4”.

5. A reasonable estimate of the amount that will be put at issue in the course of the
litigation is in excess of $75,000.00,' exclusive of interest and costs.

6. This case involves an actual controversy between the parties concerning the
liability of and amount of damages sustained by Plaintiff in a motor vehicle accident. See

generally Exhibit “A1”, Complaint.

 

' See Laughlin v. Kmart Corp., 50 F.3d 871, 873 (1995); see also Frederick v. Farmers Underwriters Ins. Co.,
683 F.3d 1242, 1254 (10" Cir. 2012); and Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 554
(2014) (holding “a defendant’s notice of removal need include only a plausible allegation that the amount in
controversy exceeds the jurisdictional threshold. . . [e]vidence establishing the amount is required by §
1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s allegation”).

2
Case 1:19-cv-00262-JHR-JFR Document1 Filed 03/25/19 Page 3 of 5

7. Plaintiffs’ Complaint contains four “causes of action”: Negligence, Negligence
Per Se, Negligent Hire/Training/Supervision, and Respondeat Superior.

8. Without admitting the validity of any of Plaintiff's allegations, the amount that
will be put at issue in this case will likely exceed the jurisdictional minimum because Plaintiff
seeks to recover: (a) compensatory damages including bodily injury, medical, property damage,
loss of use, and lost past and future earnings; and (b) punitive damages. See generally Exhibit
“Al”, Complaint.

9. Without admitting the validity of any of Plaintiff’s allegations, if Plaintiff prevails
on his claims, New Mexico law may permit recovery of compensatory damages, incidental and
consequential loss damages and punitive damages. See UJI 13-1712 NMRA (compensatory
damages in bad faith cases); UJI 13-1716 (incidental and consequential loss damages).

10. “Punitive damages may be considered in determining the requisite jurisdictional
amount.” Woodmen of World Life Ins. Soc’y v. Manganaro, 342 F.3d 1213, 1218 (10" Cir.
2003). A removing defendant need only establish that state law would permit a recovery of
punitive damages and that the “total award, including compensatory and punitive damages, could
exceed ‘the jurisdictional minimum].’” Frederick v. Farmers Underwriters Ins. Co., 683 F.3d
1242, 1245 (10" Cir. 2010).

11. | Without admitting any of the Plaintiffs allegations, and without admitting the
Plaintiff is entitled to recover any of the claimed damages, Defendant submits that the aggregate
“value” of what Plaintiff seeks to recover in this case, or what a judgment would be worth to

Plaintiff, exceeds $75,000.00. See Wiatt v. State Farm Ins. Co., 560 F.Supp.2d 1068, 1075

3
Case 1:19-cv-00262-JHR-JFR Document1 Filed 03/25/19 Page 4 of 5

(D.N.M. 2007) (providing court may “aggregate actual damages, punitive damages, attorneys’
fees, and statutorily imposed penalties” when determining whether jurisdictional amount
requirement is satisfied).

12. Pursuant to 28 U.S.C. § 1446(b)(2)(A), Defendant Phenix Transportation West
consents to removal through their undersigned counsel of record in both the state and federal
court actions. See Exhibit A5.

13. Pursuant to 28 U.S.C. § 1446 (d), written notice of removal has been given to all
adverse parties and a copy of this Notice of Removal has been filed with the Clerk of the Second

Judicial District Court, County of Bernalillo, State of New Mexico.

Respectfully submitted,

RILEY, SHANE & KELLER, P.A.

By: Waktu

MARK J.RILEY

TARYN M. KASELONIS

3880 Osuna Road NE

Albuquerque, NM 87109

(505) 883-5030

ckeller@rsk-law.com

Attorney for Defendant National Fire & Marine
Insurance Company
Case 1:19-cv-00262-JHR-JFR Document1 Filed 03/25/19 Page 5 of 5

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 25" day of March, 2019, a copy of the
foregoing was electronically filed through the CM/ECF system, which caused participating
CM/ECF counsel to be served with same by electronic means, and was emailed on the 25" day
of March, 2019 to the following counsel of record:

Eva K. Blazejewski

Heather K. Hansen

Blazejewski & Hansen, LLC

2501 Rio Grande Blvd NW, Suite B
Albuquerque, NM 87104
eva(@blazehansenlaw.com
heather@blazehansenlaw.com

By: waar

MARK J. RILEY v
TARYN M. KASELONIS

 

 
